Case 2:12-cv-03319-SDW-SCM Document 98 Filed 08/13/19 Page 1 of 1 PageID: 1038
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 Hon. Steven C. Mannion, USMJ                                                                                     I:   973,41)7.1325

 United States District Court
 for the District of New Jersey
 50 Walnut Street                                                             J’ e-a QcDc ocoe-
 Newark, New Jersey 071W
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        Re:    USA ex ref Armstrong v. Andover, et a!.
               Civil Action No. 12-3319-SDW-SCM
                                                                                         e’c e\ WY\DS
 Dear Judge Mannion:

         This firm represents Defendants Andover Subacute & Rehab Cenler Services One, Inc.,
 Aiidover Subacute & Reh’tb Center Services Two, Inc., and the Estate of Dr. Hooshang Kipiani
 (collectively, the “Andover Defendants”), in the above-referenced qui ta/i action. Telephonic
 arcurnent on Relator Kenrth Armstrong’s Motion to Compel the Andover Defendants to answer
 inerrogatories is schedule. for tomorrow, August 14, 2019 at 3:30 pm.

        Due to ongoing health issues, Plaintiff’s counsel will not be able to participate in this
 argument tomorrcw. Therefore, on Plaintiff counsel’s behalf, undersigned counsel respectfully
 recuest that argument be djoumed to August 22. 2019.
                                                                                          SO ORDERED
        All counsel of record have consented to this request.                                    shS’tcven C Mwznion
                                              Respectfull                   s,                  yen C4&nIQn, U.S.IvU.
                                                                                          Date
                                              Mark           en         n

 cc.    All Counsel of Record (via ECCF)
